Case 9:15-cv-80988-JIC Document 1-1 Entered on FLSD Docket 07/17/2015 Page i1of1

JS 44 (Rev. 12/12)

provided by local rules of court. This form, approved by the Judicial Conference of th
purpose of initiating the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor suppl

einent the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS
Patricia Kennedy

(b) County of Residence of First Listed Plaintiff BROWARD

DEFENDANTS
Morrison's of Palm Beach, Inc.,

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
PHILIP MICHAEL CULLEN, Ili, ESQ.
THOMAS B. BACON, PA.

County of Residence of First Listed Defendant

NOTE:
THE TRACT OF LAND INVOLVED.

Attorneys (if Known)

(IN U.S. PLAINTIFF CASES ONLY)
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

Il. BASIS OF JURISDICTION (iace an “x” in One Box Only)

Ol %) 3 Federal Question

(U.S. Government Not a Party)

U.S. Government
Plaintiff

(32 U.S. Government
Defendant

4 Diversity
(indicate Citizenship of Parties in Item Ill)

(For Diversity Cases Only)

I. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “x” in One Box for Plaintiff
and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State gi © 1 Incorporated or Principal Place go4 o04
of Business In This State
Citizen of Another State O 2 & 2 Incorporated and Principal Place go5 a5
of Business In Another State
Citizen or Subject of a O 3 © 3. Foreign Nation o6 16

Foreign Country

IV. NATURE Or SUIT (Place an “x” in n One Box on

1 110 Insurance PERSONAL INJURY PERSONAL INJURY

0 120 Marine © 310 Airplane 0 365 Personal Injury -

7 130 Miller Act © 315 Airplane Product Product Liability

1 140 Negotiable Instrument Liability 367 Health Care/

© 150 Recovery of Overpayment {1 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury

O 151 Medicare Act 0 330 Federal Employers’ Product Liability

0 152 Recovery of Defaulted Liability 0 368 Asbestos Personal
Student Loans 0) 340 Marine Injury Product
(Excludes Veterans) 0 345 Marine Product Liability

153 Recovery of Overpayment Liability PERSONAL PROPERTY

© 350 Motor Vehicle
0 355 Motor Vehicle

0 $370 Other Fraud
( 371 Truth in Lending

of Veteran’s Benefits
160 Stockholders’ Suits

O009 a0

190 Other Contract Product Liability O 380 Other Personal

195 Contract Product Liability |( 360 Other Personal Property Damage

196 Franchise Injury O 385 Property Damage
(3 362 Personal Injury - Product Liability

Habeas Corpus:
0 463 Alien Detainee
0 510 Motions to Vacate
Sentence

O 210 Land Condemnation

0 220 Foreclosure

O 230 Rent Lease & Ejectment
O 240 Torts to Land

a 440 Other Civil Rights
0 441 Voting

0 442 Employment

0 443 Housing/

(1 245 Tort Product Liability Accommodations 0 530 General
C1 290 All Other Real Property 0 445 Amer. w/Disabilities -] 01 535 Death Penalty
Employment Other:
W446 Amer. w/Disabilities - | 540 Mandamus & Other
Other 0 550 Civil Rights

O 448 Education 0 555 Prison Condition
0 560 Civil Detainee -
Conditions of

Confinement

_{0 791 Employee Retirement

0 625 Drug Re Related Seizure
of Property 21 USC 881
0 690 Other

0 422 Appeal 28 USC 158
O 423 Withdrawal
28 USC 157

a 820 Copyrights
O 830 Patent
O 840 Trademark

(3 861 HIA (1395ff)

0 710 Fair Labor Standards

Act 0 862 Black Lung (923)
O 720 Labor/Management 0 863 DIWC/DIWW (405(g))
Relations CO 864 SSID Title XVI

© 740 Railway Labor Act

O 751 Family and Medical
Leave Act

0 790 Other Labor Litigation

O) 865 RSI (405(g))

QO O80900 O00 90090000Ff

870 Taxes (USS. Plaintiff
or Defendant)

0 871 IRS—Third Party
26 USC 7609

Income Security Act

Q

0 462 Naturalization Application
0 465 Other Immigration
Actions

375 False Claims Act

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

480 Consumer Credit

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

V. ORIGIN (Place an “x” in One Box Only)

11 Original 2 Removed from
Proceeding State Court

O 3  Remanded from
Appellate Court

a4

O 5 Transferred from
Another District
(specify)

Reinstated or
Reopened

6 Multidistrict
Litigation

42 USC 12181

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VL CAUSE OF ACTION

Brief description of cause:

Injunctive relief for removal of discriminatory barriers pursuant to Title Ill of the ADA

VII. REQUESTED IN ( CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes (No
VII, RELATED CASE(S) ;
instructions):
IF ANY Bee imsiretion): Ne ff DOCKET NUMBER
DATE SIGNATU ORNEY OF RECORD
07/17/2015
FOR OFFICE USE ONLY oa” TY,
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

